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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION



   In Re: COOK MEDICAL, INC., IVC FILTERS
   MARKETING, SALES PRACTICES AND                           Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                            MDL No. 2570


   This Document Relates to All Actions


                                 CASE MANAGEMENT ORDER # 27
                                  (BELLWETHER TRIAL PLAN)

            Pursuant to the Court’s Amended Case Management Order No. 25 (Dkt. 10593), this Court

   enters the following scheduling order for the bellwether trial selections (McDermitt (1:18-cv-946-

   RLY-TAB), Burrage (1:18-cv-273-RLY-TAB) and Johnson (1:17-cv-1236-RLY-TAB)):

           1.     Motions for Leave to Amend: All motions for leave to amend the pleadings or to
   joining additional parties in McDermitt shall be filed on or before September 30, 2019.

           2.     Bellwether Depositions: Case-Specific Fact Deposition in Bellwether Cases shall
   be limited to (1) Plaintiff(s), (2) Plaintiff’s treating physicians, (3) sales representatives directly
   associated with the sale of the specific product implanted in the Plaintiff, and (4) two additional
   fact witnesses. The Parties agree that the sales representatives’ depositions will generally occur
   prior to implanting/retrieval physician depositions. If the Parties disagree regarding the proper
   sequencing of depositions and the sequence of questions in depositions in a specific Bellwether
   Case, they will meet and confer prior to contacting the Court for assistance in resolving the issue.
   Additional Case-Specific Fact Depositions may be taken by agreement or by leave of Court upon
   good cause shown.

          3.      Expert Disclosures: Plaintiffs and Defendants shall make the disclosures required
   by Fed. R. Civ. P. 26(a)(2) in McDermitt on or before the date(s) identified in Exhibit A.

           4.     Independent Medical Examinations: Any independent medical examinations of the
   Plaintiff in McDermitt shall be requested by Defendants on or before the date(s) identified in
   Exhibit A. The Parties shall follow the protocol outlined for these examinations in Case
   Management Order No. 21 (Dkt. 4978).




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           5.      Close of Discovery: Discovery must be completed in McDermitt by the dates
   identified in Exhibit A. Extensions may be granted by agreement or by leave of Court upon good
   cause shown.

           6.     Preliminary Witness & Exhibit Lists: Preliminary witness and exhibit lists in
   McDermitt are due on or before the date(s) identified in Exhibit A. The lists should reflect the
   specific potential witnesses and exhibits at each bellwether trial. It is not sufficient for a Party to
   simply incorporate by reference “any witnesses listed in discover” or such general statements.

          7.      Motions for Summary Judgment and Daubert Motions: Motions for summary
   judgment and Daubert motions regarding the limitation or exclusion of expert testimony in
   McDermitt are due on or before the dates identified in Exhibit A. Responses to motions for
   summary judgment and Daubert motions are due on or before the dates identified in Exhibit A.
   Replies are due on or before the dates identified in Exhibit A. A hearing on Daubert motions and
   motions for summary judgment will be set by a separate order.

           8.      Bifurcation: Any Party who believes that bifurcation of trial is appropriate with
   respect to any issue or claim in McDermitt shall notify the Court as soon as practicable and no
   later than the date(s) identified in Exhibit A.

           9.      Motions in Limine: Motions in limine, responses, and replies, in McDermitt shall
   be filed in accordance with the dates identified in Exhibit A. A hearing on motions in limine will
   be set by a separate order.

           10.      Deposition Designations: The Parties shall exchange deposition designations in a
   form that lists the portions of the deposition(s), including the specific page and line numbers, that
   the Party intends to offer as evidence at trial. Deposition designations, counter designations, and
   redirect designations and related objections in McDermitt shall be filed in accordance with the
   dates identified in Exhibit A. A hearing on deposition designations will be set by a separate order.

           11.    Final Witness Lists: All Parties shall file and serve their final witness list, which
   identifies and notifies the other Party of the identity of all witnesses who will attend the trial, in
   McDermitt on or before the date(s) identified in Exhibit A. It is not sufficient for a Party to simply
   incorporate by reference “any witness listed in discovery” or such general statements. The list of
   final witnesses shall include a brief synopsis of the expected testimony.

        12.     Final Exhibit Lists: All Parties shall file and serve their final exhibit list in
   McDermitt on or before the date(s) identified in Exhibit A.

           13.     Jury Instructions and Verdict Forms: All Parties shall file and serve their proposed
   jury instructions and verdict forms in McDermitt on or below the date(s) identified in Exhibit A.

            14.   Stipulations of Fact, Trial Briefs, and Notice to Court of Use of Evidence
   Presentation Equipment: The Parties shall file their stipulations of fact, file and serve their trial
   briefs, and submit their Notice to Court of use of Evidence Presentation Equipment, in McDermitt
   on or before the date(s) identified in Exhibit A.


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          15.     Final Pretrial Conference: A final pretrial conference in McDermitt will be set by
   a separate order.

           16.      Trial Dates: Trial of McDermitt will begin on April 27, 2020, pursuant to the
   schedule in Exhibit A. Should McDermitt be dismissed or summary judgment granted, Johnson
   shall take its place as the next case to be tried, and the parties shall submit an amended Exhibit A
   within 7 days of the dismissal or judgment.

         Counsel shall submit proposed schedules for the discovery and trials of Johnson and
   Burrage within 15 days of the date of this Order. Johnson will be tried in October 2020 and
   Burrage will be tried in February 2021.

         17.     Additional Deadlines: Any additional deadlines not specifically referenced above
   for McDermitt are set forth in Exhibit A.


   SO ORDERED this 25th day of October 2019.




   Distributed Electronically to Registered Counsel of Record.




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